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                  21-1365
              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SECOND CIRCUIT
___________________________________________________________________________________________________________________


     SELINA SOULE, a minor, by Bianca Stanescu, her mother;
  CHELSEA MITCHELL, a minor, by Christina Mitchell, her mother;
   ALANNA SMITH, a minor, by Cheryl Radachowsky, her mother;
   ASHLEY NICOLETTI, a minor, by Jennifer Nicoletti, her mother,
                                                          Plaintiffs-Appellants,
                                                        v.
    CONNECTICUT ASSOCIATION OF SCHOOLS, INC. d/b/a
CONNECTICUT INTERSCHOLASTIC ATHLETIC CONFERENCE;
  BLOOMFIELD PUBLIC SCHOOLS BOARD OF EDUCATION;
   CROMWELL PUBLIC SCHOOLS BOARD OF EDUCATION;
 GLASTONBURY PUBLIC SCHOOLS BOARD OF EDUCATION;
CANTON PUBLIC SCHOOLS BOARD OF EDUCATION; DANBURY
        PUBLIC SCHOOLS BOARD OF EDUCATION,
                                                         Defendants-Appellees,
                                                      and
     ANDRAYA YEARWOOD; THANIA EDWARDS on behalf of her
      daughter, T.M.; COMMISSION ON HUMAN RIGHTS AND
                        OPPORTUNITIES,
                                 Intervenors-Appellees.
_________________________________________________________________
  On Appeal from the United States District Court for the District of
             Connecticut, Case No. 3:20-cv-00201 (RNC)
_________________________________________________________________

         OPENING EN BANC BRIEF OF APPELLANTS
_________________________________________________________________
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             CORPORATE DISCLOSURE STATEMENT
     Selina Soule, Chelsea Mitchell, Alanna Smith, and Ashley

Nicoletti (collectively, Plaintiffs) are private individuals with no parent
corporation or stockholders.




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                  JURISDICTIONAL STATEMENT
     Four female athletes sued in the U.S. District Court for the

District of Connecticut under Title IX to the Education Amendments, 20
U.S.C. § 1681(a), to vindicate their statutory rights. The district court
had federal question jurisdiction under 28 U.S.C. §§ 1331 and 1343.

     Plaintiffs’ Second Amended Verified Complaint sought declaratory
and injunctive relief, nominal and compensatory damages, and attorney
fees and costs. The district court granted Defendants’ joint motion to

dismiss on April 26, 2021. Plaintiffs filed a timely notice of appeal 30
days later. Fed. R. App. P. 4(a)(1)(A).
     This Court has appellate jurisdiction under 28 U.S.C. § 1291.




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                      STATEMENT OF THE ISSUES
      This Court’s February 21, 2023, order instructs the parties to brief

the following three issues:
      1.     Whether Plaintiffs-Appellants have alleged an injury in fact
resulting from Defendants-Appellees’ “Transgender Participation”

policy.
      2.     Whether Plaintiffs-Appellants have alleged an injury in fact
redressable by ordering the alteration of athletic records.

      3.     Whether Plaintiffs-Appellants are barred by the Pennhurst
doctrine from seeking monetary damages in relation to their claim
brought pursuant to Title IX of the Education Amendments Act of
1972.1




1 The en banc Court did not ask the parties to brief the merits of Plain-
tiffs’ Title IX claim, and rightfully so. When assessing a plaintiff’s
Article III standing, federal courts “assume that on the merits the
plaintiffs would be successful in their claims.” Am. Farm Bureau Fed’n
v. E.P.A, 836 F.3d 963, 968 (8th Cir. 2016) (quoting Muir v. Navy Fed.
Credit Union, 529 F.3d 1100, 1106 (D.C. Cir. 2008)); accord Sierra Club
v. E.P.A., 699 F.3d 530, 533 (D.C. Cir. 2012). “[S]tanding in no way
depends on the merits of the plaintiff’s contention that particular
conduct is illegal.” Warth v. Seldin, 422 U.S. 490, 500 (1975); accord
E.M. v. N.Y.C. Dep’t of Educ., 758 F.3d 442, 450 (2d Cir. 2014) (quoting
Warth); Rocky Mountain Helium, LLC v. United States, 841 F.3d 1320,
1325 (Fed. Cir. 2016) (same); Cottrell v. Alcon Lab’ys, 874 F.3d 154, 162
(3d Cir. 2017) (“To maintain [the] fundamental separation between
standing and merits at the dismissal stage, we assume for the purposes
of our standing inquiry that a plaintiff has stated valid legal claims.”).


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                           INTRODUCTION
     The Connecticut Interscholastic Athletic Conference (“CIAC”) and

member schools promulgated and enforced a policy that allowed biologi-
cally male students to compete in girls’ sports based solely on their
gender identity, ignoring “the distinct differences in physical charac-

teristics and capabilities between the sexes.” Cape v. Tenn. Secondary
Sch. Athletic Ass’n, 563 F.2d 793, 795 (6th Cir. 1977), abrogated on
other grounds by Brentwood Acad. v. Tenn. Secondary Sch. Athletic

Ass’n, 190 F.3d 705, 706 (6th Cir. 1999). Subsequently, two biological
males competed in girls’ track. And the effects were devastating on
high-performing female track athletes, like Plaintiffs here. One named
plaintiff, for instance, was deprived of “four state championship titles,
two All New England awards, medals, points, and publicity” because
she lost to one or both biological males. Appellants’ App.69 (“App.”).
     So Plaintiffs sued under Title IX, which has protected female
athletes’ equal opportunities and effective accommodation for decades.
Over three years later, the female athletes still have not obtained a

merits ruling. The injustice that began on the track followed the female
athletes to the courtroom. The district court and panel dismissed their
plausible allegations out of hand on standing or notice grounds. Only
the en banc Court can vindicate Plaintiffs’ Article III standing and their
right to seek damages and prospective relief for the CIAC policy’s last-
ing harms. It should reverse and remand for a ruling on the merits.



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                      STATEMENT OF THE CASE2

     A.     Title IX’s background and requirements
     For most of our nation’s history, equal athletic opportunity for
women and girls was not simply devalued but actively opposed. Schools
channeled female students into home economics classes and spurned

their direct athletic participation as either dangerous, unfeminine, or
not worth the cost. More Hurdles to Clear: Women and Girls in
Competitive Athletics, U.S. Comm’n on Civ. Rts. at 1 (July 1980) (“More

Hurdles to Clear”), https://perma.cc/X3W3-T2YF; Title IX at 45, Nat’l
Coal. for Women & Girls in Educ. at 2 (2017) (“Title IX at 45”),
https://perma.cc/V7KM-PJ97. On and off the field, sex-based

discrimination was commonplace.
     During the 1971–1972 school year, only “7% of all high school
athletes were girls.” Title IX at 45 at 38. Many high schools had no girls’

sports teams, choking off the number of women who could compete in
college. And, at the college level, “women received only 2% of schools’
athletic budgets, and athletic college scholarships for women were

nonexistent.” Id. at 40. Women were denied important “opportunities
for athletic competition and scholarships” as a result. 130 Cong. Rec.
18,536 (1984) (statement of Rep. Snowe).



2 In keeping with the complaint and the nature of Plaintiffs’ Title IX
claims, this brief uses the terms “female,” “girls,” or “women” only in
reference to athletes who are biologically female. App.131 n.1.


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       In 1972, Congress passed Title IX to end this sex-based discrimi-
nation. The statute declares that “[n]o person in the United States

shall, on the basis of sex, be excluded from participation in, be denied
the benefits of, or be subjected to discrimination under any education
program or activity receiving Federal financial assistance ….” 20 U.S.C.

§ 1681(a). Two years later, Congress re-affirmed that Title IX applies to
athletics by directing the Department of Education’s predecessor agency
to issue regulations that “with respect to intercollegiate athletic

activities [contain] reasonable provisions considering the nature of
particular sports.” Pub. L. No. 93-380, § 844, 88 Stat. 484, 612 (1974).
     These implementing regulations feature three key components.

First, they set a general rule that sex discrimination, including
providing “athletics separately,” is disallowed in “interscholastic,
intercollegiate, club or intramural” sports. 34 C.F.R. § 106.41(a).
Second, the regulations provide an exception for sex-based teams
“where selection … is based upon competitive skill or the activity
involved is a contact sport.” 34 C.F.R. § 106.41(b). Last, they establish

an overriding principle that Title IX mandates “equal athletic oppor-
tunity for members of both sexes,” including “the selection of sports and
levels of competition [that] effectively accommodate the interests and
abilities of members of both sexes.” 34 C.F.R. § 106.41(c)(1).
     Under a prior scheme, Congress had the authority to review these
regulations and scrap them in whole or in part. It scrutinized Title IX’s


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implementing regulations closely but deliberately chose to leave them
intact. Jocelyn Samuels & Kristen Galles, In Defense of Title IX: Why

Current Policies Are Required to Ensure Equality of Opportunity, 14
MARQ. SPORTS L. REV. 11, 20–22 (2003).
     The implementing regulations generally require non-selective

athletic opportunities in schools, such as physical education classes, to
be coed. Sex-based teams are permissible if tryouts are based on
competitive skill or a contact sport is involved. But if providing equal

athletic opportunities—including effectively accommodating both sexes’
interests and abilities—requires maintaining separate girls’ and boys’
teams, then sex-based teams are required. Cf. Williams v. Sch. Dist. of

Bethlehem, 998 F.2d 168, 171 (3d Cir. 1993) (Title IX grants a school
“flexibility … to organize its athletic program as it wishes, so long as
the goal of equal athletic opportunity is met”); Yellow Springs Exempted
Vill. Sch. Dist. Bd. of Educ. v. Ohio High Sch. Athletic Ass’n, 647 F.2d
651, 656 (6th Cir. 1981) (same).
     Under Title IX, equal opportunity is substantive, not hollow. E.g.,

Klinger v. Dep’t of Corr., 107 F.3d 609, 614 (8th Cir. 1997) (Title IX
requires “equality,” not “parity” (quotations omitted)). The statute does
not simply bar sex discrimination. It requires “the benefits of [ ] … any
education program” to be sex neutral. 20 U.S.C. § 1681(a). And when it
comes to athletics, this equal-benefits mandate accounts for “the nature
of particular sports.” Pub. L. No. 93-380, § 844, 88 Stat. 484, 612 (1974).


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Put differently, “[a] recipient which operates or sponsors interscholastic,
intercollegiate, club or intramural athletics shall provide equal athletic

opportunity for members of both sexes.” 34 C.F.R. § 106.41(c).
     The regulations ensure sex-neutral benefits by: (1) barring sex
discrimination generally; (2) yet allowing sex separation to maintain

selectivity and competitiveness, or avoid an enhanced risk of injury,
based on the features of a particular sport; and (3) establishing a
paramount equal-athletic-opportunity requirement for both sexes that

encapsulates Title IX’s text and purpose. 34 C.F.R. § 106.41(a)–(c).
     Courts have given Title IX’s language a wide scope to realize
Congress’s goals of “avoid[ing] the use of federal resources to support

discriminatory practices” and “provid[ing] individual citizens effective
protection against” them. Cannon v. Univ. of Chi., 441 U.S. 677, 704
(1979); accord Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 175
(2005) (“‘Discrimination’ is a term that covers a wide range of inten-
tional unequal treatment; by using such a broad term, Congress gave
the statute a broad reach.”). Specifically, Congress enacted Title IX “in

response to evidence of pervasive discrimination against women with
respect to educational opportunities.” McCormick ex rel. McCormick v.
Sch. Dist. of Mamaroneck, 370 F.3d 275, 286 (2d Cir. 2004).
     For 40 years, the Supreme Court has “constru[ed] ‘discrimination’
under Title IX broadly” to ensure that women and girls benefit equally
from educational programs. Jackson, 544 U.S. at 174. And the Courts of


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Appeals have followed suit, characterizing Title IX as “a dynamic
statute,” Neal v. Bd. of Trs. of Cal. State Univs., 198 F.3d 763, 769 (9th

Cir. 1999); that mandates “real [athletic] opportunities, not illusory
ones,” Williams, 998 F.2d at 175. Notably, this Court has already held
that Title IX requires that girls have “genuine athletic participation

opportunities.” Biediger v. Quinnipiac Univ., 691 F.3d 85, 101 (2d Cir.
2012) (emphasis added). So any “measure[ ]” of Title IX “compliance”
must account for “whether [athletic programs actually] achieve … equal

opportunity” for both sexes. Horner v. Ky. High Sch. Athletic Ass’n, 43
F.3d 265, 273–74 (6th Cir. 1994).

     B.     Title IX’s revolutionary impact on sports
     Athletics have long been “an integral part of the educational
process in American high schools and colleges.” More Hurdles to Clear
at iii. But “women and girls were not encouraged to participate until
recently.” Id. Title IX was the catalyst. It made the abolition of sex
discrimination in education a federal priority, “trigger[ing] a revolution
that changed the face of American sports.” William Thro & Brian Snow,

Cohen v. Brown University and the Future of Intercollegiate and
Interscholastic Athletics, 84 ED. LAW REP. 611, 611 (1993).
     Title IX sparked a “huge increase in the number of girls who grow
up playing organized sports, with many of them continuing to do so into
adulthood.” Deborah Brake, Getting in the Game: Title IX and the
Women’s Sports Revolution 37 (2010). In the 47-year span from 1971–72


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to 2018–19, high school girls’ athletic participation surged from 294,000
to over 3.4 million. Doriane Coleman, Michael Joyner, & Donna

Lopiano, Re-Affirming the Value of the Sports Exception to Title IX’s
General Non-Discrimination Rule, 27 DUKE J. GENDER L. & POL’Y 69, 72
(2020) (“Re-Affirming the Value of the Sports Exception”). A similar rise

occurred in college sports where women’s participation started at 30,000
and rose to over 288,000. Id.
     Due in large part to Title IX, girls and women benefit from “being

physically strong,” “developing the myriad skills associated with
competitive sport,” and “attending college on athletic scholarships.” Id.
“Title IX has successfully changed the lives of girls and of women …,

protecting their rights, broadening their horizons[,] and setting them up
for success in later stages of their education and careers.” Id. at 70
(quotation omitted).
     The Title IX revolution changed American education for the
better. Sports participation yields many concrete benefits for girls and
women, including “(1) better overall health; (2) better academic perfor-

mance; and (3) lessons in teamwork, leadership[,] and confidence.”
Daniel J. Emam, Manufacturing Equality: Title IX, Proportionality, &
Natural Demand, 105 GEO. L.J. 1107, 1123 (2017) (“Manufacturing
Equality”); accord Title IX at 45 at 5. One revealing metric is that
“nearly 85 percent of female business executives played a varsity sport
in high school or college, the majority of which say that their time on


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the field contributed greatly to their success.” Manufacturing Equality,
105 GEO. L.J. at 1123–24; accord Re-Affirming the Value of the Sports

Exception, 27 DUKE J. GENDER L. & POL’Y at 106–07.

     C.     Eligibility for girls’ athletic teams in Connecticut
     Title IX’s mandate of equal athletic opportunity allows girls and

women the same chance as boys and men “to enjoy the thrill of victory
[and] the agony of defeat.” Neal, 198 F.3d at 773. But female track
athletes in Connecticut have experienced the “agony of defeat” dispro-
portionately to the “thrill of victory.” This inequality results from a
Connecticut Interscholastic Athletic Conference (“CIAC”) policy that
“determine[s] a student’s eligibility to participate in a CIAC gender
specific sports team based on the gender identification of that student
in current school records and daily life activities in the school and
community at the time that sports eligibility is determined for a
particular season.” CIAC 2022–2023 Handbook at 54,
https://perma.cc/9U2W-WBQW (the “CIAC policy”); accord App.149.
     Under the CIAC policy, no testosterone suppression is required for

biological males to compete on girls’ athletic teams. School districts
merely verify “that the students listed on a gender specific sports team
are entitled to participate on that team due to their gender identity.”
CIAC 2022–2023 Handbook at 54. The policy stops biological male
students from joining girls’ teams only if they “claim a particular gender
identity for the purpose of gaining a perceived advantage in athletic


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competition.” Id. (emphasis added). Physiological differences play no
role in the eligibility decision: the policy deems irrelevant biological

males’ actual advantage in athletic competition.

     D.     Biological males’ competitive advantage and the
            devastating impact on female athletes
     The competitive advantage that biological males have over girls is
real and substantial. App.139–42. “[S]cientists agree that males and
females are materially different with respect to the main physical

attributes that contribute to athletic performance.” Re-Affirming the
Value of the Sports Exception, 27 DUKE J. GENDER L. & POL’Y at 92
(cleaned up); accord id. at 87–99. Regardless of how they identify,

biological males have more muscle, higher cardiac outputs, larger
hemoglobin mass, higher aerobic and anaerobic capacity, and different
economy of motion. Id. at 94; accord App.140–41. These differences

stem from biological males’ exposure “to much higher levels of testos-
terone (T) during growth and development (puberty), and throughout
[their] athletic career[s].” Re-Affirming the Value of the Sports Excep-

tion, 27 DUKE J. GENDER L. & POL’Y at 92; accord App.140, 146–47.
     Based on their physiology, “even the very best females are not
competitive for the win against males.” Re-Affirming the Value of the

Sports Exception, 27 DUKE J. GENDER L. & POL’Y at 115; accord
App.142–46. “[L]arge numbers of men and even adolescent boys are able
to outperform the very top-performing women.” App.34 (emphasis



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added). The upshot is that when biological males are allowed to compete
against biological girls, they dominate women’s sports. Re-Affirming the

Value of the Sports Exception, 27 DUKE J. GENDER L. & POL’Y at 98–100.
And that is precisely what happened in Connecticut after the CIAC
effectively dismantled sex-specific track teams.

        In 2017, the CIAC allowed Andraya Yearwood, a biologically male
student who identified as female, to compete in high school girls’ track
and field. App.150. Yearwood, even as an inexperienced freshman,

claimed two State Class championships,3 App.151, and ultimately
ranked third in the State Open championship, App.153.
        Biological-male dominance of female athletics reached new

heights in 2018. The CIAC also allowed Terry Miller, a biologically male
athlete who identified as female, to compete in high school girls’ track.
App.153. Miller previously competed on the boy’s track team for three
seasons and never advanced to a State Class or State Open champion-
ship. App.153. In fact, Miller never ranked above 325th in Connecticut
in a boys’ track event.4 All that changed when Miller switched to female

3Connecticut track and field competition involves multiple tiers. First,
athletes may qualify to compete in statewide “Class” races based on
school size. App.150. “[T]he top-performing students within each State
Class championship qualify to participate in the State Open champion-
ships,” in which the top athletes compete regardless of school size. Id.
Finally, “the top performers in the State Open championships qualify to
participate in the New England Championship.” Id.
4   Terry Miller Boys’ Track & Field Bio, Athletic.net, bit.ly/3naPoT2.


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athletics: Miller took first prize at the women’s 2018 State Open 100m
event by a large margin, while Yearwood won runner-up. App.153–54.

Chelsea Mitchell, who would have ranked second in the state in sex-
specific competition as a freshman, rated fourth instead. App.154.
     The 2019 season was much the same. In a preliminary State Class

race, Miller and Yearwood took second and third place, blocking fresh-
man Ashley Nicolette from qualifying for the 100m State Class final.
App.157. Miller and Yearwood also took the top slots in a preliminary

State Open race, preventing Selina Soule from competing in the State
Open 55m final. And in that final 55m State Open race, Miller and
Yearwood won gold and silver by a wide margin, leaving Mitchell—the

top-performing biological girl—with a bronze medal. App.155. What’s
more, Mitchell and another girl, Alanna Smith, ranked third and
fourth, rather than second and third, in the 200m State Open final
because Miller took first place—again by a large margin. App.158.
     From 2017 to 2019, Miller and Yearwood won 13 girls’ state-
championship titles and took more than 68 opportunities to advance to

and compete in higher-level track races. Those limited and valuable
opportunities would otherwise have gone to biological girls. App.159. In
fact, Miller and Yearwood won 13 out of 14 “girls” championships in
seven important state-level events. Id. A biologically female athlete won
just one. Id. Male athletes experienced no such harm: in boys’ track,




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males won all 14 parallel championship races. The brunt of the CIAC’s
policy falls on girls alone.

      Athletes like Soule, Mitchell, Smith, and Nicoletti have personally
felt the policy’s impact. They trained hard to shave fractions of seconds
off their race times so they could compete in state and regional meets,

stand atop the winners’ podium, and perhaps even secure college
athletic scholarships and gainful employment beyond—just like
champions in boys’ track. App.72, 164. Often those dreams were dashed,

as the CIAC policy forced Soule, Mitchell, Smith, and Nicoletti to
compete against—and lose to—biological males.
      The margins were generally not close. In track, victory often

comes down to a thousandth or a hundredth of a second. E.g., Alan
Burdick, The Olympics’ Never-Ending Struggle to Keep Track of Time,
The New Yorker (Feb. 8, 2018), https://perma.cc/HJK8-C3Z9. Yet Miller
and Yearwood, for instance, finished .28 and .22 seconds ahead of
Mitchell, the fastest biological girl in the 2019 55m State Open
championship final. App.155. And the margin was even greater in the

200m State Open championship final: Miller finished a whopping .42
seconds ahead of the fastest girl and .68 seconds ahead of Smith who
placed third. App.158. Although Soule, Mitchell, Smith, and Nicoletti
were already invested and persevered in track, the lure of competitive
sports will lessen substantially if biological girls’ chance of winning is
slim-to-none.


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      In 2020, Soule and Mitchell graduated from high school, as did
Miller and Yearwood. Smith and Nicoletti continued to participate in

high school track until they graduated in 2022.

      E.     Proceedings in the district court
      The school environment that Soule, Mitchell, Smith, and Nicoletti

experienced is not the one Congress intended. So they sued CIAC and
relevant member high schools, alleging the CIAC policy violates Title IX
by failing to provide female athletes with equal treatment, benefits, and
opportunities, App.174–75, and by not effectively accommodating
female athletes’ interests and abilities, App.172–74. The female
athletes’ complaint sought: (1) a declaration that the CIAC policy
violates Title IX, (2) an injunction barring the policy’s enforcement,
(3) an injunction requiring CIAC and its members schools to correct
their athletic records and properly credit biological girls’ athletic
records, titles, and achievements, as well as (4) nominal and compensa-
tory damages, and (5) attorney fees and costs. App. 175–76. Simultane-
ously, Plaintiffs moved for a preliminary injunction. Mot. for Prelim.

Inj., Doc.12.
      But the inequity that plagued the female athletes on the track
followed them to the courtroom. Though they moved for an expedited
hearing on the preliminary-injunction motion, Mot. for Expedited Order
to Show Cause Hr’g, Doc.15, the district court never required Defen-
dants to file an opposition brief or scheduled a hearing on the motion.


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The court simply ran the clock and denied the motion as moot nearly 14
months later. Order Finding as Moot, Doc.176.

     In stark contrast, when Miller and Yearwood moved to intervene
as defendants, Mot. to Intervene as Defendants, Doc.36, the district
court set a prompt hearing, Calendar Notice, Doc.88. The proceedings

were lopsided from the start. On its own initiative, the district court
barred Plaintiffs’ counsel from “refer[ring] to the proposed intervenors
as ‘males,’” ordering him to call them “‘transgender females’” instead.

App.104. When Plaintiffs’ counsel objected that biological distinctions
were the cornerstone of the female athletes’ case, the court responded:
“This isn’t a case involving males who have decided that they want to

run in girls’ events. This is a case about girls who say that transgender
girls should not be allowed to run in girls’ events.” App.104. And the
district court essentially accused Plaintiffs’ counsel of “bullying” by
referring to Miller and Yearwood as biological males. App.107. The
court granted the motion to intervene, Order, Doc.93; as well as another
intervention motion filed by the Connecticut Commission on Human

Rights and Opportunities, Order, Doc.95.
     Defendants then filed a joint motion to dismiss, arguing that the
female athletes lacked standing and their complaint failed to state a
claim on which relief could be granted. Mot. to Dismiss Second Am.
Compl., Doc.145. Briefing on the motion was complete in September
2020. Reply to Resp. to Mot. to Dismiss, Doc.157. The district court held


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a hearing five months later. Minute Entry, Doc.173. About two months
following the court dismissed the complaint in its entirety, Ruling &

Order, Doc.178, triggering this appeal.
     By the time the district court finally ruled on the motion, Miller
and Yearwood had graduated. The court did not doubt Plaintiffs’ stand-

ing when the complaint was filed. App.267. Yet it regarded Miller and
Yearwood’s “participation in girls’ track . . . [as] the impetus for this
action,” App.271, and held that Plaintiffs’ request to enjoin future

enforcement of the CIAC policy was moot, App.271–75. While the case
lingered on the docket, Smith and Nicoletti graduated too.
     The district court also held that Plaintiffs lacked standing to seek

an injunction requiring CIAC and member schools to correct past
athletic records, medals, and achievements. App.277–78. Absent the
CIAC policy, and Miller and Yearwood’s competition in girls’ track, the
court recognized that:

     (1) Chelsea Mitchell would have finished first in four elite
     events in 2019, and qualified for the 2017 New England
     Regional Championship in the Women’s 100m; (2) Selina
     Soule would have advanced to the next level of competition
     in the 2019 CIAC State Open Championship in the Women’s
     Indoor 55m; (3) Ashley Nicoletti would have qualified to run
     in the 2019 CIAC Class S women’s Outdoor 100m; and
     (4) Alanna Smith would have finished second in the
     Women’s 200m at the 2019 State Outdoor Open. [App.277]
Yet the court belittled these harms, reasoning that anyone “impressed”
by Mitchell’s corrected record “would learn that she did not actually


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finish first in the four races,” App.277–78 (emphasis added), a biological
male did. Overall, the court deemed athletic records—unlike discipli-

nary records—as of trivial importance to students, colleges, and
employers. App.278.
     Mootness could not hinder Plaintiffs’ claim for damages. Even so,

the court erroneously dismissed that relief as barred by a notice
requirement derived from Pennhurst State School & Hospital v. Halder-
man, 451 U.S. 1 (1981). App.279–87. Viewing that requirement as a

lesser form of qualified immunity, the court held that U.S. Department
of Education (“DOE”) guidance and Title IX court rulings did not give
Defendants “clear notice” that enacting and enforcing the unlawful

CIAC policy could expose them to damages. App.279–80, 282.

     F.     Proceedings on appeal
     On appeal, a panel of this Court affirmed the dismissal of the
female athletes’ Title IX claims. When it came to Plaintiffs’ request for
an injunction correcting CIAC and its members’ athletic records, the
panel held they lacked standing. Soule by Stanescu v. Conn. Ass’n of

Schs., Inc., 57 F.4th 43, 50–51 (2d Cir. 2022). Yet it ignored Plaintiffs’
chief source of injury: “No less than any other athlete, Plaintiffs want
their hard work accurately and fairly recognized.” Op.Br.19. Because of
the CIAC policy, Plaintiffs’ “records do not recognize [their] actual
achievements—an inherent harm that the courts can redress.”




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Op.Br.16. Not once did the panel opinion discuss Plaintiffs’ “interest in
having their achievements recognized.”5 Op.Br.19.

        Instead, the decision morphed Plaintiffs’ asserted “right to be
recognized as champions,” Op.Br.18 (emphasis in original), into “a
‘chance to be champions’” and held no injury exists. Soule, 57 F.4th at

51 (emphasis added). But Plaintiffs did not allege merely that they were
barred from “compet[ing] at state track championships as high school
athletes.” Id. Their claim is—and has always been—that “[b]oys who

compete in CIAC-sponsored events do not worry that their achieve-
ments will be ‘erased’ or ‘wiped from the books’ due to unfair competi-
tion,” and that Title IX entitles girls to equal benefits. Op.Br.18.

        Redressability was also lacking, according to the panel, based on
the same alchemy. Fixing the CIAC’s athletic records “would not give
Plaintiffs ‘a chance to be champions.’” Soule, 57 F.4th at 51. But
Plaintiffs’ argument has always been that Title IX requires funding
recipients to provide female athletes with fair “opportunities to win,”6
Op.Br.33, and that biological males participating in girls’ track have an

“unfair advantage in competition,” Op.Br.24. Correcting female




5 Though Plaintiffs faulted the district court for “never discuss[ing] the
inherent value to female athletes of having their achievements properly
recognized,” Op.Br.19, the panel opinion repeats the same error.
6   Accord Op.Br.17 (“Athletes compete to win.”).


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athletes’ records, recognizing their achievements, and reallocating
medals would at least partially redress that harm.

      Essentially recognizing as much, the panel opinion hints that
altering athletic records is impossible. Soule, 57 F.4th at 51. Yet the
CIAC handbook shows that this (improper) negative inference is not

true. When a student athlete uses performance-enhancing substances,
“[a]ll CIAC contests/games/tournaments/championships in which the
offending athlete participated while under the influence of [those]

substances shall be declared forfeitures and all records will be
expunged.” CIAC 2022–2023 Handbook at 103; accord Op.Br.18–19.
Nothing stops a court from ordering a similar remedy here—especially

as the steroids athletes sometimes use to gain an unfair advantage are
often synthetic modifications of testosterone. App.140.
      As to Plaintiffs’ damage claims, the panel ruled that funding
recipients must have “‘adequate notice that they could be liable’” under
Title IX. Soule, 57 F.4th at 54 (quotation omitted). The opinion first
looked to DOE guidance, which it said “never clearly provided [that the

CIAC policy] violates Title IX. Id. at 55. Implying that Bostock v.
Clayton County, 140 S. Ct. 1731 (2020), and Court of Appeals decisions
concerning transgender students’ bathroom use required the CIAC
policy, the opinion said that caselaw failed to provide Defendants with
notice of potential liability. Soule, 57 F.4th at 55.




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      Lastly, the panel opinion cabins the “‘intentional conduct’ excep-
tion to Pennhurst’s notice requirement” to “retaliation or sexual harass-

ment” cases. Id. at 56. So this case would not qualify. Id. But even if it
did, the opinion holds that the exception requires “‘intentional conduct
that violates the clear terms of [Title IX]’” and the CIAC policy does not

fit that bill. Id. (alteration in original).
      Of its own accord, this Court granted en banc review. 2/13/2023
Order, Doc. 258.

                       SUMMARY OF ARGUMENT
      Plaintiffs plausibly alleged that Defendants’ promulgation and
enforcement of the CIAC policy caused an injury in fact. Depriving
Plaintiffs of equal athletic benefits and opportunities, as well as
effective accommodation of their abilities, violated Title IX and harmed
them by causing Plaintiffs emotional and psychological distress;
blocking their advancement to regional meets; stripping them of
medals, championship titles, and records; and depriving them of public
recognition for their achievements. Those injuries are concrete, not
abstract, and particular to each named Plaintiff, not generalized.
      They are also actual or imminent. Violation of Plaintiffs’ Title IX
rights and the resulting emotional distress; loss of medals, titles, and
advancement; degrading their official athletic records; and dampening
of college scouts’ and scholarship committees’ interest are actual,
completed harms. Because the injuries resulting from those harms are


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ongoing—particularly when it comes to the accuracy of Plaintiffs’
official athletic records and their resulting marketability—they are not

only actual but imminent too. Other Courts of Appeals’ rulings in prior
athletic-records cases and academic-or-disciplinary record cases prove
Plaintiffs’ ongoing injuries and right to seek prospective relief.

     Plaintiffs have also plausibly alleged that their injuries are at
least partially redressable by a judicial decision. Compensatory or
nominal damages will likely redress their completed harms, and

prospective relief will likely remedy their ongoing injuries by correcting
their official athletic records, medals, and titles. CIAC’s own policies
demonstrate that correcting students’ athletic records after the fact is

both possible and necessary to address the effect of unfair competition.
And the highest levels of competitive sport show that society highly
values corrected athletic medals and records, no matter how long it
takes to get them right.
     What’s more, Pennhurst’s notice requirement does not apply to
Title IX claims based on recipients’ intentional actions. Official

policies—like Defendants’ CIAC policy—are always intentional and
subject to recipients’ direct control, so notice is not required. Anyway,
Title IX itself gave Defendants notice of potential liability. And rulings
by other Courts of Appeals verify that Pennhurst does not bar Plaintiffs’
damages claims here.




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                               ARGUMENT

I.    Standard of Review
      Because “the trial court dismissed on the basis of the complaint
alone or the complaint supplemented by undisputed facts evidenced in
the record,” this Court’s review “is de novo.” Rent Stabilization Ass’n of

N.Y. v. Dinkins, 5 F.3d 591, 594 (2d Cir. 1993).

II.   Article III Standing
      Plaintiffs have Article III standing if they (1) suffered an injury in
fact that is concrete and particularized, as well as actual or imminent;

(2) it’s likely the defendant caused the injury; and (3) it’s likely the
injury would be redressed by judicial relief. TransUnion LLC v.
Ramirez, 141 S. Ct. 2190, 2203 (2021). Together, these requirements

ensure that plaintiffs have suffered an injury caused by the defendant
that a court can solve. Id. This Court ordered briefing on the injury-in-
fact and redressability prongs. 2/21/2023 Order, Doc.261.

      The female athletes are “invoking federal jurisdiction” and “bear[ ]
the burden of establishing” standing. Lujan v. Defs. of Wildlife, 504 U.S.
555, 561 (1992). But Article III’s requirements are “relatively modest,”

especially at the pleadings stage. Bennett v. Spear, 520 U.S. 154, 171
(1997). This Court “accept[s] as true all [plausible] allegations of the
complaint, and must construe the complaint in [Plaintiffs’] favor.”
Warth v. Seldin, 422 U.S. 490, 501 (1975); accord Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009). And it “presume[s] that [the complaint’s] general



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allegations embrace those specific facts that are necessary to support
the claim.” Lujan, 504 U.S. at 561 (quotation omitted). Under this

standard, Plaintiffs’ “general factual allegations of injury resulting from
the defendant’s conduct may” show standing without more. Id.

III. Plaintiffs plausibly alleged an injury in fact resulting from
     the CIAC policy.

       A.    The four elements of an “injury in fact”
     The Supreme Court defines an “injury in fact” as the invasion of a
cognizable interest that is concrete and particularized, actual (not

conjectural) or imminent (not hypothetical). E.g., Bennett, 520 U.S. at
167; Lujan, 504 U.S. at 560. Broken down, there are four elements:
(1) an injury that is (2) concrete and (3) particularized, and either

(4) actual or imminent. Accord TransUnion, 141 S. Ct. at 2203.
     First, an “injury” may be “[a]ny harm or damage” or, more specific
to the law, “[t]he violation of a[ ] legal right, for which the law provides

a remedy,” Injury, Black’s Law Dictionary (11th ed. 2019), including the
breach of an individual’s statutory rights, Warth, 422 U.S. at 500.
     Second, the injury must be “concrete,” which means “real, and not

abstract.” TransUnion, 141 S. Ct. at 2204 (quotation omitted). Courts
use “history and tradition” as a “guide” in testing whether the alleged
injury bears “a close relationship to a harm traditionally recognized as
providing a basis [for suing] in American courts.” Id.




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      Third, the harm must be “particularized.” In other words, “the
injury must affect the plaintiff in a personal and individual way.”

Lujan, 504 U.S. at 560 n.1. Generalized grievances that virtually
anyone could raise are not enough. E.g., Carney v. Adams, 141 S. Ct.
493, 498–99 (2020); Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016).

      Last, the injury must be “actual or imminent.” This requirement is
straightforward: plaintiffs must show “actual past or threatened
[future] harm.” Florida v. Georgia, 141 S. Ct. 1175, 1183 (2021); accord

Uzuegbunam v. Preczewski, 141 S. Ct. 792, 798 (2021). “[P]ast injury”
grants standing for backward-looking relief, while ongoing or “imminent
future injury” confers standing for prospective relief. Summers v. Earth

Island Inst., 555 U.S. 488, 495 (2009); accord Adarand Constructors,
Inc. v. Pena, 515 U.S. 200, 210–11 (1995).

      B.     The female athletes have plausibly claimed that the
             CIAC policy harmed them.
      Individual students may sue for violations of Title IX. Cannon,
441 U.S. at 689, 717. In particular, the statute gives student athletes a

catalogue of important rights. Recipients cannot deny girls and women
“the benefits of . . . or otherwise . . . discriminate[ ] against [them] in”
athletics. 34 C.F.R. § 106.41(a). Stopping direct discrimination against

female athletes is good, but Title IX doesn’t stop there.




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      Funding recipients must also “provide equal athletic opportunity
for” girls and women, including by offering “sports and levels of compe-

tition [that] effectively accommodate [their] interests and abilities.” 34
C.F.R. § 106.41(c)(1); accord 44 Fed. Reg. 71,413, 71,414 (1979) (“[T]he
governing principle in this area is that the athletic interests and

abilities of male and female students must be equally effectively
accommodated.”). So Title IX also bars indirect discrimination against
female athletes, as recipients may not enforce athletic “policies” that

are “discriminatory in . . . effect.” 44 Fed. Reg. at 71,417.
      Instead of ignoring girls and women’s unique capabilities and
concerns, funding recipients must effectively accommodate them. And

in ensuring that female athletes benefit equally from their sports pro-
grams, recipients must keep all relevant circumstances in mind,
including “competitive skill,” 34 C.F.R. § 106.41(b), and “the nature of
particular sports,” Pub. L. No. 93-380, § 844, 88 Stat. 484, 612 (1974).
      Plaintiffs plausibly allege indirect discrimination that violates
Title IX. Specifically, they claim the CIAC policy allowing biological

males to compete against them in girls’ track has a discriminatory effect
and deprived them of equal athletic opportunities. E.g., App.131
(alleging female athletes have “fewer opportunities to stand on the
victory podium,” “participate in post-season elite competition,” obtain
“public recognition as champions,” and “set[ ] recognized records”). And
they contend that dismantling sex-based track teams failed to


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effectively accommodate girls’ abilities. E.g., App.173 (“[A]fter puberty,
the athletic abilities of girls relevant to track and field competitions are

not equal to those of comparably fit and trained boys.”).
     Those are classic Title IX injuries. For decades, courts have
recognized female athletes’ right to sue based on identical statutory

harms. E.g., McCormick, 370 F.3d at 291–92 (discussing Title IX “‘equal
treatment’” and “‘accommodation’” requirements); Mansourian v.
Regents of Univ. of Cal., 602 F.3d 957, 965 (9th Cir. 2010) (same); Cohen

v. Brown Univ., 101 F.3d 155, 180–81 (1st Cir. 1996) (ruling for female
athletes on an effective-accommodation claim). So the injuries the
female athletes allege here are plainly cognizable.

     Depriving Plaintiffs of the equal benefits and effective accommo-
dation to which Title IX entitles them is itself an injury. Courts have
recognized the danger of demolishing schools’ sex-based athletic teams
for decades. E.g., O’Connor v. Bd. of Educ. of Sch. Dist. 23, 449 U.S.
1301, 1307 (1980) (Stevens, J., in chambers) (“Without a gender-based
classification . . ., there would be a substantial risk that boys would

dominate the girls’ programs and deny them an equal opportunity to
compete in interscholastic events.”); Adams ex rel. Kasper v. Sch. Bd. of
St. Johns Cnty., 57 F.4th 791, 819 (11th Cir. 2022) (Lagoa, J., specially
concurring) (“commingling of the biological sexes in the female athletics
arena would significantly undermine the benefits” that separate sports




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teams “afford[] to female student athletes”); Clark v. Ariz. Interscholas-
tic Ass’n, 695 F.2d 1126, 1131 (9th Cir. 1982) (“recognizing the physio-

logical fact that males would have an undue advantage competing
against women for positions on the volleyball team”). Plaintiffs’
complaint plausibly alleges those anticipated harms resulted here

because of the CIAC policy.
     This experience of “[un]fair competition” in CIAC-sponsored
athletics cascaded into a series of additional harms. App.148, 174–75.

To name a few, Plaintiffs experienced “stress, anxiety, intimidation, and
emotional and psychological distress from being forced to compete
against males with inherent physiological advantages in the girls’

category.” App.164; accord App.175. Competing “for second or third
place” resulted in Plaintiffs stepping up “to the starting line thinking, ‘I
can’t win.’ ‘I’m just a girl,’” App.163, leading to “depression,” App.164.
     What’s more, the CIAC policy robbed the female athletes of
“medals, advancement to regional meets, championship titles and
records, and recognition on the victory podium.” App.148. Because these

achievements feature prominently on college, scholarship, and job
applications, App.156, taking “public recognition” away from Plaintiffs
forever changed the trajectory of their lives, App.158–59, 170, 174–75.
     Yet these harms are not all that matters. Student athletes have
an ongoing interest in their athletic records. Courts of Appeals have
recognized that interest for over 40 years. E.g., McPherson v. Mich.


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High Sch. Athletic Ass’n, Inc., 119 F.3d 453, 458–59 (6th Cir. 1997) (en
banc) (basketball player had a post-graduation interest in keeping his

teams’ victories from being “vacate[d] or strike[n]”); Sandison v. Mich.
High Sch. Athletic Ass’n, Inc., 64 F.3d 1026, 1030 (6th Cir. 1995) (track
athletes “still have an interest [post-graduation] in preventing” the

“erasure of individual performances” and “forfeiture of team victories”);
Wiley v. Nat’l Collegiate Athletics Ass’n, 612 F.2d 473, 476 (10th Cir.
1979) (track athlete had a post-graduation interest “[a]s long as [his]

records and awards are at stake”).
     The female athletes also have an interest in getting “credit where
credit’s due.” Accord App.166–67 (Defendants should “correct official

records and publicity material to give accurate credit to girls who would
have been recognized as victors but for [their] violations of Title IX”).
The CIAC policy irreparably harms that interest by denying Plaintiffs
accurate official records of “their hard-earned athletic accomplish-
ments,” which they can look back to—and gain confidence from—for a
lifetime. App.172. Defendants publish these inaccurate records, medal

assignments, and lists of champions in perpetuity. App.171–72. So the
harm to Plaintiffs’ “interest in having their achievements recognized”
never ends. Op.Br.19.
     In fact, it is precisely because records matter across a lifetime that
Intervenors continue to oppose Plaintiffs’ requested relief. Before the
panel, Miller and Yearwood’s counsel admitted that being improperly


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denied a trophy is a sufficient injury to support standing.7 All the
athletes involved in this litigation are of one voice that athletic records

matter profoundly.
     Each of these harms is cognizable. And any one of them is
sufficient to give Plaintiff standing under Article III.

     C.     Plaintiffs’ alleged injuries are concrete.
     Concrete injuries are real and not abstract. Spokeo, 578 U.S. at
340. But concrete harms are not always tangible. As the Supreme Court
has explained, “intangible injuries can nevertheless be concrete.” Id.
Plaintiffs need only show that the intangible injury alleged has “a close
relationship to a harm that has traditionally been regarded as provid-
ing a basis for a lawsuit in English or American courts.” Id. at 341.
     Title IX is a non-discrimination law that bars funding recipients
from (directly or indirectly) committing sex discrimination. The
Supreme Court has listed “discriminatory treatment” as an archetypal
example of the “concrete, de facto injuries” that “Congress may elevate
to the status of legally cognizable injuries.” TransUnion, 141 S. Ct. at

2204–05 (quotation omitted) (citing Allen v. Wright, 468 U.S. 737, 757
n.22 (1984)). So the harms Plaintiffs experienced as a result of
Defendants’ violation of Title IX are concrete.



7Oral argument, Soule v. Conn. Ass’n of Schs., No. 21-1365 (Sept. 29,
2022), at 20 min., 48 sec. through 21 min, 22 sec.

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     What’s more, American courts accept the concreteness of closely
related—if not identical—harms in the equal-protection context. Courts

have long recognized that “persons who are personally denied equal
treatment” may incur “serious non-economic injuries.” Heckler v.
Mathews, 465 U.S. 728, 739–40 (1984). Often the concrete injury boils

down to plaintiffs’ “inability to compete on an equal footing.” Ne. Fla.
Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville,
508 U.S. 656, 666 (1993); accord Adarand, 515 U.S. at 211. Plaintiffs

have “standing” if they are “able and ready” to compete once “a
discriminatory policy [that] prevents [them] from doing so on an equal
basis” is erased. Ne. Fla. Chapter, 508 U.S. at 666. Article III does not

require plaintiffs in equal protection cases to allege that they “would
have obtained the benefit but for the [wrongful] barrier.” Id. The injury
“is being forced to compete in [an illegal] system.” Parents Involved in
Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007). And
the same is true in Title IX cases—like Plaintiffs’ here.
     Going above and beyond, the complaint alleges specific benefits

that the female athletes would have obtained but for the CIAC policy.
This includes specific high-level opportunities to race, athletic records,
and track medals that Defendants denied to Plaintiffs because the
CIAC policy allows biological males to compete in girls’ track. E.g.,
App.152–62. Because the female athletes’ alleged injuries are real and
not abstract, they meet Article III’s concreteness requirement.


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     D.     The female athletes’ claimed injuries are
            particularized.
     Plaintiffs allege injuries that are particularized to them, not
widespread. Soule, Mitchell, Smith, and Nicoletti are high-performing
female track athletes. The CIAC policy marred their individual track

careers by forcing them to compete personally on a repeated basis
against two biological males—and nearly always lose. App.152–62.
Plaintiffs thus base their claims on “a personal and individual injury,”

not a “general interest common to all members of the public.” Carney,
141 S. Ct. at 499 (quotations omitted).
     For example, the policy uniquely injured Plaintiffs by subjecting

them to “[un]fair competition” and depriving them of equal athletic
benefits and opportunities. App.148, 174–75. Plaintiffs also directly
experienced, and were harmed by, “Defendants’ failure to provide

competitive opportunities that fairly and effectively accommodate the
athletic abilities of female athletes.” App.175; accord App.173. Soule,
Mitchell, Smith, and Nicoletti personally “face[d] a level of [track]

competition that does not equally reflect and accommodate girls’
different physiological characteristics and abilities.” App.163.
     Student athletes who experience discriminatory policies firsthand,

and who suffer real-world harms as a result, have a particularized
injury. Courts recognize that female varsity athletes—like Plaintiffs—
have standing to raise equal-treatment claims. E.g., McCormick, 370



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F.3d at 281, 284–85 & n.9 (varsity athletes who played, or would play,
soccer if the girls’ team received equal treatment had standing); cf.

Boucher v. Syracuse Univ., 164 F.3d 113, 116 (2d Cir. 1999) (rejecting
such a claim “since none of the named plaintiffs were varsity athletes”);
Pederson v. La. State Univ., 213 F.3d 858, 872 (5th Cir. 2000) (equal-

treatment plaintiffs “lack[ed] standing” because “no named plaintiff was
a member of a varsity team”).
     The bar is even lower for effective-accommodation claims. Courts

acknowledge that standing extends to any female student who “is ‘able
and ready’ to compete for a position on [a] team,” whether or not that
student currently participates in sports. Pederson, 213 F.3d at 871;

accord Boucher, 164 F.3d at 117–18 (former female club athletes would
have standing to litigate an effective-accommodation claim if they’d
lodged a timely claim for damages).
     Over and above what Article III requires, the complaint alleges
competitive harms exclusive to each plaintiff. The female athletes
“trained harder than ever,” App.72, not just to compete but “to win [or

place highly in] championships” staged on a level playing field, App.170.
Fitness or entertainment were not Plaintiffs’ goals. Soule, Mitchell,
Smith, and Nicoletti worked tirelessly “to shave mere fractions of
seconds off” their run times, App.72, because they aspired “to receive
public recognition of their achievements, and to experience the thrill of
victory,” App.170. Then the CIAC changed the rules, admitting


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biological males to girls’ sports—which pulled the rug out from under
the female athletes. Naming just a few examples, but for the CIAC

policy:
      • Soule would have advanced beyond a preliminary race to the
          2019 State Open Championship Women’s Indoor Track 55m

          Final, App.154–55, and “competed for a spot at the New
          England Championship,” App.155;

      • Mitchell “would have made her school’s history as the first

          female athlete . . . ever to be named State Open Champion,
          App.156; claimed a gold medal in the 2019 State Open
          Championship Women’s Indoor Track 55m Final, App.155;

          “won second place statewide” in the 2018 State Open
          Championship Women’s Outdoor Track 100m, App.154; and
          enjoyed “the nearly unprecedented opportunity to qualify as a
          freshman for the New England Regional Championships” in
          2017, App.152;

      • Smith would have been runner-up in the 2019 State Open

          Championship Women’s Outdoor Track 200m Final as a
          freshman, App.158;

      • And Nicoletti “would have advanced to the next level of

          competition in the outdoor Class S state championship 100m




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           preliminary race” in 2019 “and competed for a spot at the State
           Open Championship.” App.157.

      Each Plaintiff experienced “[un]fair competition,” App.148, 174–

75, and “emotional distress, pain, [and] anxiety” as a result, App.175.
The CIAC policy degraded each of the female athletes’ accomplishments

and deprived them of high-level opportunities to compete and public
recognition that would attract the notice of scouts, scholarship
committees, and future employers or customers. App.131, 156. Just as

important, the policy forever scarred Plaintiffs’ athletic records,
irreparably harming each female athlete’s interest in accurate
recognition of her athletic achievements. App.171–72.

      It is difficult to imagine injuries that are more particularized. The
complaint outlines Plaintiffs’ “personal and individual injur[ies]” in
exquisite detail. Carney, 141 S. Ct. at 499. And that satisfies the
particularity element.

      E.     Plaintiffs’ alleged harms are actual or imminent.
      Because the female athletes have now all graduated from high

school, this appeal focuses on the actual injury that Plaintiffs
experienced in the past or the ongoing and imminent harm they suffer
both now and in the future on a continuing basis.8 And the complaint


8 Plaintiffs who allege ongoing injuries have standing to seek prospec-
tive relief. E.g., United States v. Or. State Med. Soc’y, 343 U.S. 326, 333
(1952) (“All it takes [for an] injunction is a real threat of future violation

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reveals both harms in abundance. So this Article III requirement is
easily met.

     Defendants’ violation of the female athletes’ Title IX rights is an
actual and completed harm, as are Plaintiffs resulting loss of medals,
advancement to regional meets, championship titles, school records, and

public recognition. The emotional and psychological distress Plaintiffs
experienced as a result of the CIAC policy is an actual harm too. And so
is Defendants’ inaccurate reporting of each female athlete’s official

record and career achievements, especially as they dampened college
scouts’ and scholarship committees’ interest.
     But not all of Plaintiffs’ injuries stayed in the past. Some of the

CIAC policy’s harms are ongoing and continue to affect the female
athletes now and in the future. These harms are actual and imminent
because Plaintiffs’ completed injuries are “[ ]accompanied by . . .
continuing, present adverse effects.” Steel Co. v. Citizens for a Better
Env’t, 523 U.S. 83, 109 (1998) (quotation omitted).
     Take Plaintiffs’ athletic records. Athletes have an interest in

ensuring that their “official records,” App.166, accurately reflect “their
hard-earned athletic accomplishments,” App.172—even if no one else



or a contemporary violation of a nature likely to continue or recur.”);
State Emps. Bargaining Agent Coal. v. Rowland, 494 F.3d 71, 98 (2d
Cir. 2007) (an injunction is proper to “prevent [an] alleged ongoing
injury from occurring again in the future”).


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looks them up or considers them. The CIAC policy warped Soule,
Mitchell, Smith, and Nicoletti’s track records—in some cases, nullifying

their greatest successes. App.152–62. Defendants’ medal assignments,
records, and winners lists still downgrade Plaintiffs’ triumphs and fail
to give them “accurate credit.” App.166. And Defendants will continue

to do so, in perpetuity, unless Plaintiffs obtain an injunction. App.171.
Because these “downstream consequences” of the CIAC policy are
ongoing, the female athletes have standing to seek prospective relief.

TransUnion, 141 S. Ct. at 2214 (quotation omitted).
      Or consider Plaintiffs’ careers. Many employers consider high
athletic achievement to be a valuable indicator of determination,

persistence, and a will to win. E.g., Ryan Westwood, 5 Reasons Why
Sporting a Staff of Athletes is a Game-Winning Strategy, Forbes (Mar.
19, 2018), https://perma.cc/L8EP-KBG8. Correcting the female athletes’
official records will give them stronger resumes and inspirational
stories. Even if it is too late for Plaintiffs to benefit from superior
“college applications, scholarship applications, and college recruiting

profiles,” App.156, their resumes and personal narratives will always
impact their competitiveness in the marketplace. If an unlawful policy
dropped a female law students’ class rank from the top 5% to the top
10%, everyone would agree that her flawed transcript causes ongoing
harm. And the same is true of the female athletes’ reduced athletic




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records here. When it comes to medals, for instance, the world perceives
an important difference between bronze or silver and gold.

     Accomplishments are how people market and distinguish
themselves. Employees, business owners, and even social media
influencers use them to stand out. Traditionally, careers are built on

resumes, and resumes, in turn, are based on rankings by educational
institutions. Official rankings are even more crucial for individuals who
are still in college, lack substantial work experience, and have little else

to show on their resume—like Plaintiffs here. E.g., How to Describe
Athletics on a Resume, Lewis & Clark College Career Ctr.,
https://perma.cc/5WD4-Z9K3.

     Only an injunction can end the ongoing harm of a degraded
resume. That injury provides the female athletes standing to seek
prospective relief.

     F.     Court of Appeals rulings in athletic-record cases
            establish Plaintiffs’ continuing harm and ability to
            seek prospective relief.
     Plaintiffs’ continuing interest in the accuracy of their athletic

records isn’t novel. For decades, Courts of Appeals have recognized that
students, schools, and athletic associations have a permanent interest
in ensuring such annals of achievement are correct. So the inaccuracy of
the female athletes’ records continually harms them.




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     A comparison to prior athletic cases is apples-to-apples except that
courts normally analyzed the issue through the lens of mootness.

Though there are distinctions between mootness and standing, 9 those
differences are not relevant to whether an injury in fact exists:
mootness never becomes an issue later on unless the plaintiff

established an injury in fact in the first place. Gardner v. Mutz, 962
F.3d 1329, 1337 (11th Cir. 2020). So the mootness cases discussed below
are persuasive authority for the standing issue presented here. Warth,

422 U.S. at 499 n.10 (standing “bears close affinity to” mootness).
     Consider the Sixth Circuit’s ruling in Sandison. A dispute
between two track athletes and Michigan’s athletic association about an

age-out rule wasn’t resolved before the students graduated from high
school. 64 F.3d at 1028–30. The resulting debate about the students’
athletic records was not moot, the court said, as the plaintiffs “still have
an interest in preventing” the “eras[ure] [of] their teams’ victories and
their own performances. Accordingly, this controversy remains live.” Id.
at 1030; accord McPherson, 119 F.3d at 458–59.



9 One distinction is that courts assess standing in the past (i.e., at the
time the complaint was filed), Lujan, 504 U.S. at 569 n.4, but they
weigh mootness in the present, Burke v. Barnes, 479 U.S. 361, 363
(1987). Another difference is that plaintiffs bear the burden of showing
standing, Lujan, 504 U.S. at 561, whereas defendants generally must
prove mootness, West Virginia v. Env’t Prot. Agency, 142 S. Ct. 2587,
2607 (2022).


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     The Seventh Circuit reached the same conclusion in Crane by
Crane v. Indiana High School Athletic Association, 975 F.2d 1315, 1317

(7th Cir. 1992), which involved a debate between a golf-team member
and Indiana’s athletic association over a transfer-eligibility rule. Even
though the injunction allowing the student to compete had expired, the

court held that a dispute about athletic records was still live because
the student “received an award for his second-place finish, he and his
teammates received first-place team ribbons, and [his school] received a

sectional championship trophy,” all of which would be lost if the
association prevailed. Id. at 1318; accord Washington v. Ind. High Sch.
Athletic Ass’n, Inc., 181 F.3d 840, 844–45 (7th Cir. 1999).

     In Pottgen v. Missouri State High School Activities Association, 40
F.3d 926, 928–29 (8th Cir. 1994), the Eighth Circuit reasoned the same
when a baseball player sued Missouri’s athletic association over an age-
out rule. A live controversy remained, the court said, even though the
student had “played his last game of high school baseball,” because
“permanent records and awards” were at stake. Id. at 928.

     Another example is the Tenth Circuit’s decision in Wiley, which
involved a clash between a college track athlete and the NCAA over the
extent of his financial awards. 612 F.2d at 474–75. The student
graduated but there was still “a substantial controversy,” the court said,
because his athletic “points,” “places,” “records[,] and awards [were] at
stake.” Id. at 475–76. And that harm allowed the court to “render a


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decision that will affect the rights of the litigants.” Id.; accord Jones v.
Wichita State Univ., 698 F.2d 1082, 1085 n.7 (10th Cir. 1983).

      These Court of Appeals rulings establish that students have a
continuing interest in their athletic records, placements, and awards. If
the underlying dispute between students and athletic associations could

impact these official records, courts have jurisdiction to resolve it. And
that remains true regardless of whether a state athletic association’s
age-out, transfer-eligibility, financial-awards, or transgender-eligibility

rule is at stake. Holding otherwise, as the panel did, isn’t simply wrong,
it creates a lopsided circuit split. This Court should avoid that split and
join the Sixth, Seventh, Eighth, and Tenth Circuits in holding that

inaccurate athletic records create an ongoing harm that can be
alleviated through an injunction.

      G.     Other circuits’ student-educational-records cases
             validate the ongoing nature of Plaintiffs’ injury and
             their right to pursue an injunction to fix them.
      For similar reasons, established precedent holds that students
have an ongoing interest in their educational records and may seek an

injunction to correct or enhance them. Most of these cases arise in the
mootness context. Again, that makes no difference when it comes to the
existence of an injury in fact. A deep body of precedent holds that
students are entitled to seek injunctions that address harms to their
academic or disciplinary records. Such permanent histories of



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achievement—or failure—are directly comparable to the student
athletic records at issue here.

      In Constantine v. Rectors & Visitors of George Mason University,
411 F.3d 474, 478 (4th Cir. 2005), the Fourth Circuit addressed Re-
habilitation Act (and other) claims that a student lodged against her

law school. The student alleged that she failed an exam and received an
“F” because the school failed to accommodate her disability. Id. at 478–
79. She requested an injunction ordering the school to “expunge the

failing grade from her record.” Id. at 496 n.15. Even though the student
had graduated, the Fourth Circuit held that she could seek prospective
relief, id., because she claimed “the ‘F’ on her transcript continues to

hamper her employment prospects,” id. at 479.
      The Fifth Circuit reached a similar conclusion in Overdam v.
Texas A&M University, 43 F.4th 522, 525–26 (5th Cir. 2022) (per
curiam), which involved a student accused of sexual misconduct who
sued the university after he was found guilty of a policy violation and
suspended for a semester. Once the student graduated, the university

argued that his due process claim was moot. Id. at 529. Not so, the court
said, because the student had a cognizable interest in remedying
“continued reputational harm that may impede future employment.”
Id.; accord Calbillo v. San Jacinto Junior Coll., 434 F.2d 609, 610 (5th
Cir. 1970) (per curiam) (lawsuit might be moot only after the college
altered its “record[s] . . . to delete reference to his expulsion”).


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     Similarly, the Ninth Circuit in Bird v. Lewis & Clark College, 303
F.3d 1015 (9th Cir. 2002), faced a student’s claim that the college failed

to accommodate her disability during an overseas learning program, id.
at 1017–19, resulting in the student receiving “one A, two C minuses
and one D for the semester,” id. at 1019. The student sued under the

Rehabilitation Act and other laws. Id. Following graduation, the Ninth
Circuit upheld her standing to seek an injunction “requiring the college
not to release her semester grades,” reasoning that “poor grades” on the

student’s “transcript . . . can adversely affect her chances of employment
and of admittance to graduate school.” Id. at 1020; accord Hatter v. L.A.
City High Sch. Dist., 452 F.2d 673, 674 (9th Cir. 1971) (“[S]o long as

disciplinary measures . . . remain unexpunged from school records they
threaten prejudice with respect to college admission and future
employment.”).
     The lesson taught by these (and many other similar) cases is that
students experience ongoing harm when a violation of law results in a
deterioration of their educational records. Permanent records like these

are always relevant to career success, as anyone who has sat through a
law firm interview or U.S. Senate Judiciary Committee confirmation
hearing knows. Nor is it fair to say that academic or disciplinary
records are somehow different. Sports records are educational records
because high-school athletics are an educational offering, and part and
parcel of the academic experience. That is precisely the reason that


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athletic opportunity is encompassed within the mandate of Title IX,
even though the original text does not mention athletics at all.

      As a result of the CIAC policy, Plaintiffs’ official results, athletic
rankings, and medal assignments decreased. That is directly compara-
ble to the lowered grades and associated class rankings in Constantine

and Bird. No reasonable person would question that a student who
graduates magna cum laude instead of summa cum laude based on sex
discrimination has an ongoing harm. The same is true here. Plaintiffs’

athletic records are not as stellar as they should be. And that will
impair the female athletes’ competitiveness in the marketplace and the
official record of their athletic achievements for the rest of their lives.

      The panel’s contrary ruling leads to absurd results. Under the
CIAC policy, a single female athlete could be forced to compete against
eight biological males in a championship race. The female athlete’s
chances of medaling—let alone winning—would be effectively nil, and
her educational records would suffer as a result. Yet the panel, alone
among the federal circuits, would say she lacks an injury in fact.

IV.   Plaintiffs have plausibly alleged that their injury in fact is
      redressable by a judicial decision.

      A.     Defining redressability
      Redressability focuses “on whether the injury that a plaintiff
alleges is likely to be redressed through the litigation.” Sprint
Commc’ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 287 (2008)



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(emphasis omitted). The standard is one of probability, not certainty.
“[A] likelihood that the requested relief will address the alleged injury”

is enough. Steel Co., 523 U.S. at 103 (emphasis added). If the “practical
consequence” of a court order is “a significant increase in the likelihood
that the plaintiff would obtain relief that directly redresses the injury

suffered,” redressability is met. Utah v. Evans, 536 U.S. 452, 464
(2002).
     In practice, courts ask whether plaintiffs are likely to “personally

. . . benefit in a tangible way from the court’s intervention.” Steel Co.,
523 U.S. at 103 n.5 (quotation omitted). Plaintiffs are not required to
“show that a favorable decision will relieve [their] every injury.” Larson

v. Valente, 456 U.S. 228, 243 n.15 (1982). A “favorable decision” must
simply “relieve a discrete injury to” the plaintiff. Id. That means a
judicial remedy that “at least partially redress[es]” the plaintiff’s harm
will suffice. Meese v. Keene, 481 U.S. 465, 476 (1987).

     B.     Compensatory or nominal damages will likely redress
            Plaintiffs’ completed harms.
     “[N]othing so shows a continuing stake in a dispute’s outcome as a
demand for dollar and cents.” Mission Prod. Holdings, Inc. v. Tempnol-
ogy, LLC, 139 S. Ct. 1652, 1660 (2019). In their complaint, the female

athletes requested “[a]n award of nominal and compensatory damages”
to remedy their completed harms. App.176. Compensatory damages are
likely to redress Plaintiffs’ quantifiable damages. App.174–75. And



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nominal damages, which are “awarded by default,” are certain to
“independently provide redress” for the unquantifiable injuries

resulting from Defendants’ violation of Plaintiffs’ Title IX rights. Uzueg-
bunam, 141 S. Ct. at 800–01; accord App.171–77. These damages claims
prove redressability. Uzuegbunam, 141 S. Ct. at 796–802.

     C.     Declaratory and injunctive relief will likely redress
            the female athletes’ ongoing injuries.
     “Past exposure to illegal conduct” is redressable by declaratory

and injunctive relief if plaintiffs show that the legal violation has
“continuing, present adverse effects.” Steel Co., 523 U.S. at 109
(quotation omitted). Plaintiffs allege just such continuing adverse

effects. So prospective relief is appropriate to redress Plaintiffs’
“ongoing or future harm.” AMG Cap. Mgmt., LLC v. Fed. Trade
Comm’n, 141 S. Ct. 1341, 1347 (2021).

     More specifically, the complaint requests a declaratory judgment
that Defendants violated Plaintiffs’ Title IX rights by failing to
effectively accommodate them in sports competition and by not

providing girls equal treatment, benefits, and opportunities. App.175–
76. And to remedy the ongoing harms of that Title IX violation the
complaint requests an injunction ordering Defendants to:

     • remove biologically male athletes’ times, victories, qualifica-
          tions, record times—and any other records or recognitions—




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        during their participation in elite sports competitions desig-
        nated for girls, App.176; and

     • correct the records and give credit and/or titles to the female
        athletes who would have received them but for the participa-
        tion of biologically male athletes in elite sports competition

        designated for girls, App.176.
     The “court may not be able to return the parties to the status quo
ante” before the CIAC policy took effect. Church of Scientology of Cal. v.

United States, 506 U.S. 9, 12 (1992). But it can give Plaintiffs “a partial
remedy” by wiping official data clean of the policy’s most egregious
effects and boosting their athletic records, medals, and achievements.

Id. at 13. And that is enough for Plaintiffs to show redressability.
Accord Meese, 481 U.S. at 476.
     Corrected records will personally and tangibly benefit the female
athletes. Steel Co., 523 U.S. at 103 n.5. The Sixth, Seventh, Eighth, and
Tenth Circuits have all recognized that students have an ongoing
interest in their athletic placements, records, and awards. Supra Part

III.F. And the Fourth, Fifth, and Ninth Circuits have acknowledged
that anything in students’ educational records that reduces their level
of achievement is likely to impact their career success. Supra Part
III.G. There is no basis for reaching a different conclusion here,




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especially as the CIAC policy deprived Mitchell of “four state champion-
ship titles, two All New England awards,” and associated records or

medals. App.69.
     The only potential obstacle to redressability would be if Defen-
dants couldn’t change athletic records and awards retroactively. But the

sports-records cases discussed above and CIAC’s own handbook
demonstrate that isn’t true. Supra Part III.F. In fact, three separate
CIAC policies establish that record and award modifications are not

only possible but necessary to remedy the effects of unfair competition.
     First, CIAC prohibits student athletes from using “andro-
genic/anabolic steroids or other performance enhancing substances” to

gain an unfair advantage. CIAC 2022–2023 Handbook at 103. Students
who violate this rule are declared “ineligible,” and all CIAC competi-
tions in which the student participated in while under the influence of
such substances are “declared forfeitures and all records [are]
expunged.” Id. (emphasis added) This provision is especially relevant
here because the steroids athletes sometimes use to gain an unfair

advantage are often synthetic modifications of testosterone. App.140.
     Second, CIAC punishes schools for fielding “an ineligible
competitor” who shouldn’t have competed in the first place. CIAC 2022–
2023 Handbook at 97. In track and cross country, the ineligible student
is “disqualified from the competition and his/her opponent will advance
in his/her place,” the points earned by that student are “subtracted from


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[the] team’s total score,” and “[t]eam rankings [are] readjusted if
warranted.” Id. Comparably, if Title IX forbids biological males from

competing in girls’ track, they are ineligible competitors who should
never have been allowed to race.
     Last, CIAC orders certain remedies “in the interest of restitution

and fairness to the competing schools” when a student is wrongfully
allowed to participate in competition due to a court order that is later
reversed or erased. CIAC 2022–2023 Handbook at 53. Individual or

team “records and performances” achieved with that student’s
participation are “vacated or stricken;” “team victories [are] forfeited to
[the] opponent;” and “team or individual awards earned by such [an]

ineligible student [are] returned to the Association.” Id.
     Defendants’ violation of Title IX is more—not less—serious than
these lapses in CIAC rules. If Defendants can expunge athletic records,
reassign points, adjust rankings, and return awards when its own rules
are broken, a court can order CIAC to take the same steps when
Plaintiffs’ Title IX rights are violated. CIAC has recognized that “the

interest[s] of restitution and fairness” require no less. Id.

     D.     Sports organizations often correct records and
            awards after the fact, demonstrating the premium put
            on accuracy and fair play.
     According to the panel, even if Plaintiffs obtained an injunction to
correct their athletic records and awards, it would make no difference to



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their marketability because “a simple internet search would reveal . . .
this controversy about the records.” Soule, 57 F.4th at 53. The district

court said the same thing more bluntly: anyone “impressed by
[Mitchell’s corrected] record would learn that she did not actually finish
first in the four races.” App.277–78 (emphasis added). These negative

inferences are improper, Lujan, 504 U.S. at 561, and wrong.
     The assumption seems to be that sports competitions are “won
and done” and that the marketplace regards corrected sports records as

fake or worthless. Not so. Society values accurate athletic records and
awards, regardless of whether it takes days or years to get them right.
A prominent example is the Court of Arbitration for Sport, which

generally has the last word on all high-level athletic disputes.
Frequently Asked Questions, Court of Arbitration for Sport,
https://perma.cc/CF5J-WMBM. This specialized court often decides
whether athletes should have been disqualified or had their medals
stripped after the fact. History of the CAS, Court of Arbitration for
Sport, https://perma.cc/G78V-BQ3N.

     International sports bodies, governments, and fans place great
stock in ensuring “legitimate winners” and “fairness” in sports. For
example, the International Testing Agency recently re-analyzed 2,727
blood samples from the 2012 London Olympics using enhanced
technology that was not available then. The ITA concludes the sample
re-analysis program for the Olympic Games London 2012, Int’l Testing


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Agency (Dec. 5, 2022), https://perma.cc/449N-S5D8. The International
Olympic Committee withdrew 31 medals based on doping violations and

“reallocated 46 medals to subsequent legitimate winners in weight-
lifting (22), wrestling (4), athletics (18)[,] and canoe (2).” Id.
      So the reallocation of records and medals in high-level sports

competition is legitimate, commonplace, and widely recognized as
important. Recently, Lashinda Demus—an American track star—
learned that she would receive an Olympic gold medal from the 2012

London Games “a decade after the race.” 10 years later, American
Lashinda Demus poised to win Olympic gold after Russian hurdler
stripped of medal for doping, CBS News (Dec. 21, 2022),

https://perma.cc/24YH-PTTD. That is not unusual: Scottish athlete Lee
McConnell received four reallocated medals celebrating her track career
after she retired. Lee McConnell receives belated world bronze medal in
fourth major upgrade, BBC (June 27, 2022), https://perma.cc/M2KS-
25KN.
      These efforts to ensure fair competition and sport’s integrity are

valued, not denigrated. One example is Canadian weightlifter Christine
Girard who received two upgraded medals from the London 2012 and
Beijing 2008 games. News reports toasted Girard as having “finally
[been] awarded her . . . gold medal on Monday to become Canada’s first
Olympic champion in the sport.” Olympics: Canadian weightlifter




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Girard gets gold medal at last, Reuters (Dec. 3, 2018),
https://perma.cc/B94P-KYSZ.

      Medal reallocation ceremonies celebrate finally getting records
right. Olympic Medal Reallocation Principles, Int’l Olympic Comm.,
bit.ly/3FelRhG. One was recently held during the 2022 Big Ten Confer-

ence Wrestling Championships for Tervel Dlagnev, an American wres-
tler who received a London 2012 Olympics bronze medal. Tony Black,
Tervel Dlagnev of Team USA receives his 2012 Olympic bronze medal in

Olympic Medal reallocation ceremony in Lincoln, Neb., USA Wrestling
(Mar. 6, 2022), https://perma.cc/RR4Z-BKF9. At the ceremony, which
took place before a “large crowd,” Dlagnev wore “his 2012 U.S. Olympic

podium uniform,” received his medal from a member of the IOC, was
“present[ed] his official Olympic ceremonial flowers” from USA
Wrestling’s Executive Director, and “the Olympic Anthem was played.”
Id.
      If the panel and district court were correct, a medal reallocation
ceremony—assuming it happened at all—would be viewed as phony and

useless. But everyone from sports organizations and governments to
fans recognizes that “[t]he integrity of . . . athletics is [an] utmost
priority” and that “athletes who competed fairly at the highest level
[should] ultimately be acknowledged as the rightful medal winners.”
Press Release, Athletics Integrity Unit, Natalya Antyukh’s Olympic
Victory Officially Disqualified (Dec. 21, 2022), https://perma.cc/GKL9-


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8FD6. Those values apply equally to Plaintiffs and their athletic records
here.10

V.   Pennhurst’s notice requirement does not apply to Plain-
     tiffs’ damages claims. Regardless, Title IX gave Defendants
     notice they could be liable for damages.

     A.     Supreme Court precedent establishes that Penn-
            hurst’s notice requirement does not apply to
            recipient’s own intentional decisions, and that Title
            IX itself gave Defendants any notice they required.
     The panel held that the “‘intentional conduct’ exception” to
Pennhurst’s notice requirement was inapplicable, Soule, 57 F.4th at 56,
and that Defendants lacked “adequate notice that they could be liable
under Title IX as a result of the” CIAC policy, Id. at 54. Both conclu-
sions are incorrect. Pennhurst’s notice requirement does not apply to
Plaintiffs’ Title IX damages claims. And Title IX gave Defendants notice
they could be liable for damages for failing to provide girls with equal
athletic opportunities and benefits, and for refusing to effectively
accommodate girls’ athletic abilities.

     Start with Pennhurst itself. The question there was whether a
federal law required states that took specific funds to “provide certain
kinds of treatment” to the mentally disabled “at their own expense.”


10As explained at length in footnote 1 to the Questions Presented, the
Court must assume Plaintiffs’ success on the merits of their Title IX
claim for purposes of the foregoing Article III standing analysis. E.M.,
758 F.3d at 450.


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Pennhurst, 451 U.S. at 32. No one previously thought the law forced
states “to assume [that] high cost,” id. at 18, and the Court held that

the text at issue expressed “federal policy, not newly created legal
duties,” id. at 23. If Congress had wished to impose new state-funded
“entitlements” under the Spending Clause, the Court said, it “must do

so unambiguously,” id. at 17, not retroactively, id. at 25.
     No similar problem exists here. Congress explicitly tied Title IX
funding to recipients agreeing not to discriminate against students

based on sex. 20 U.S.C. § 1681(a); Franklin v. Gwinnett Cnty. Pub.
Schs., 503 U.S. 60, 75 (1992). And recipients have been on notice for
over four decades that non-discrimination under Title IX means

ensuring equal athletic opportunities and benefits for girls, and
effectively accommodating their athletic abilities. 34 C.F.R. § 106.41.
     Next came Franklin, which involved a Title IX damages claim by a
student who alleged that she was sexually abused by a coach and that
school officials knew but did nothing to stop it. 503 U.S. at 63.
Pennhurst did not apply, the Court said, because the “alleged violation

[in Pennhurst] was unintentional.” Id. at 74. Yet Franklin alleged
“intentional discrimination,” by which the Court meant “intentional
actions [Congress] sought by statute to proscribe.” Id. at 75. And in that
context, Pennhurst’s “notice problem does not arise.” Id. at 74–75.




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      Plaintiffs’ Title IX claims are also based on “intentional actions,”
Defendants’ promulgation and enforcement of the CIAC policy. Id. at

75. So notice is irrelevant.
      The Court’s decision in Gebser v. Largo Vista Independent School
District, 524 U.S. 274 (1998), confirms this. Gebser involved a student

who sought Title IX damages from a school district based on alleged
sexual harassment by a teacher, even though school officials were in the
dark. Id. at 277–79. The Court refused to expose the district to damages

because it had “no actual knowledge of the teacher’s conduct” and no
“opportunity to take [corrective] action,” id. at 289. So any legal
violation was unintentional and unavoidable, as in Pennhurst. Id. at

287. Yet, the Court said, none of those concerns apply when a Title IX
claim “involve[s] [an] official policy of the recipient.” Id. at 290
(emphasis added). Official policies are always known, intended, and
subject to correction.
      That’s this case. Because this dispute involves an official policy—
the CIAC policy—that Defendants enacted and enforced, App.165–67;

Gebser clarifies that Pennhurst’s notice requirement does not apply to
Plaintiffs’ damages claims.
      Later, Davis v. Monroe County Board of Education, 526 U.S. 629
(1999), echoed the same principles. That case had to do with damages
for peer-on-peer harassment. When it comes to Title IX, the Court said,
Pennhurst ensures that recipients are “liable in damages . . . only for


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[their] own misconduct,” id. at 640, not students’ or “employees’
independent actions,” id. at 643 (quotation omitted). But when plaintiffs

attempt to hold schools “liable for [their] own decision[s],” notice is not
an issue Id. at 641. Summed up, “Pennhurst does not [apply] . . . where
the funding recipient engage[d] in intentional conduct that violates the

clear terms of the statute.” Id. at 642 (emphasis added).
     Enacting and enforcing the CIAC policy was Defendants’ own
intentional decision—not something they can blame on students or

employees. So notice is not required.
     The panel was led astray by Davis’ “clear terms” language, which
it saw as transforming Pennhurst notice into a lesser form of qualified

immunity. Soule, 57 F.4th at 54–56. But that reading of Davis is
mistaken. By using that “clear terms” language, all the Supreme Court
meant is that:
     a recipient may be held liable to third-party beneficiaries for
     intentional conduct that violates the clear terms of the
     relevant statute, Davis, supra, at 642, . . . but not for its
     failure to comply with vague language describing the
     objectives of the statute, Pennhurst, supra at 24–25 . . . .
     [Barnes v. Gorman, 536 U.S. 181, 187 (2002)]
Plaintiffs don’t rely on vague objectives of Title IX. Their complaint is
rooted in the statute, which “makes clear that . . . students must not be
denied access to educational benefits and opportunities on the basis of
gender.” Davis, 526 U.S. at 650. So any notice Defendants needed they
already had.


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      Confirming that Defendants had notice is Jackson v. Birmingham
Board of Education, 544 U.S. 167, 171 (2005), which allowed damages

for Title IX retaliation claims. The school argued that it lacked notice of
potential lability. Id. at 182. But the Supreme Court rejected that
argument for three reasons. First, the Court had “consistently inter-

preted Title IX’s private cause of action broadly to encompass diverse
forms of intentional sex discrimination,” which “put [the district] on
notice.” Id. at 183. Second, retaliation is “easily attributable to the

funding recipient, and it is always—by definition—intentional.” Id.
Last, because retaliation is “intentional conduct that violates the clear
terms of the statute,” “Title IX itself . . . supplied sufficient notice” of

potential liability to the district. Id. (quotation omitted).
      The same logic applies here. Courts have applied Title IX broadly
for over 40 years. Defendants’ CIAC policy is—by definition—
intentional. And Defendants received any notice they required from
Title IX itself, which bars recipients from failing to provide girls equal
athletics opportunities and benefits, and from refusing to effectively

accommodate girls’ athletic abilities.
      Franklin, Gebser, Davis, and Jackson speak with one voice and all
require the same result: Pennhurst’s notice requirement does not bar
the female athletes’ plausible claims for Title IX damages.




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      B.     Court of Appeals rulings confirm that Pennhurst’s
             notice requirement does not bar claims based on
             recipient’s official policies.
      Rulings by other Courts of Appeals verify that Pennhurst’s notice
requirement does not bar Plaintiffs’ Title IX damages claims, which is
based on Defendants’ official CIAC policy.
      As the Fifth Circuit has explained, “[t]here are two avenues for
stating a Title IX claim.” Poloceno v. Dallas Indep. Sch. Dist., 826 F.
App’x 359, 362 (5th Cir. 2020) (per curiam). Either plaintiffs may show
(1) “that the [recipient] has an official policy of sex discrimination,” or
(2) “an appropriate person had actual knowledge of . . . discrimination
[by someone else] and [the recipient] responded with deliberate indiffer-
ence.” Id. (cleaned up). Notice is required for a recipient’s latter “sin of
omission, not [its former] sin of commission.” Pryor v. Nat’l Collegiate

Athletic Ass’n, 288 F.3d 548, 568 (3d Cir. 2002) (emphasis added).
      In fact, “the Supreme Court has, throughout its Title IX jurispru-
dence, rejected arguments that Pennhurst bars a [damages] action”
when a “recipient’s conduct constituted an intentional violation of Title
IX,” Hall v. Millersville Univ., 22 F.4th 397, 404 (3d Cir. 2022), or
“intentional conduct that violates the clear terms of the statute,” id. at

405. Official policies—like the CIAC policy—are intentional acts, and
“the text of Title IX gives recipients notice that intentional
discrimination will result in liability under the statute.” Id. at 404.




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        The panel was wrong to assume that Pennhurst requires Congress
to “specifically identif[y] and proscribe[ ] each [intentional] condition”

that violates Title IX. Parker v. Franklin Cnty. Cmty. Sch. Corp., 667
F.3d 910, 921 (7th Cir. 2012). That has never been the case. E.g.,
Jackson, 544 U.S. at 183 (“Congress need not specifically identity and

proscribe each condition in the legislation”) (cleaned up).
        Directly on point is Mansourian, a case in which the Ninth Circuit
concluded that “no notice requirement is applicable to Title IX claims

that rest on an affirmative institutional decision.” 602 F.3d at 967. That
court held that “[u]niversities’ decisions with respect to athletics are . . .
‘always—by definition—intentional.’” Id. at 968 (quoting Jackson, 544

U.S. at 183). So “[a]thletic programs that fail effectively to accommodate
students of both sexes thus represent ‘official policy of the recipient
entity’ and so are not covered by Gebser’s notice requirement.” Id.
(quoting Gebser, 524 U.S. at 290); accord Karasek v. Regents of Univ. of
Cal., 956 F.3d 1093, 1112 (9th Cir. 2020) (when plaintiffs “allege[ ] that
a school’s official policy violates Title IX,” they allege “the school has

intentionally violated the statute”) (cleaned up).
        The Tenth Circuit held the same in Simpson v. University of
Colorado Boulder, 500 F.3d 1170 (10th Cir. 2007).11 When an alleged
Title IX “violation is caused by official policy,” the court said, “a funding


11   Then Judge (now Justice) Gorsuch joined the Simpson opinion.


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recipient can be said to have ‘intentionally acted in clear violation of
Title IX.’” Id. at 1178 (quoting Davis, 526 U.S. at 642). So “the notice

standards established for sexual-harassment claims in Gebser and
Davis [does not] necessarily apply.” Id. at 1177.
      This Court should avoid a circuit split and join the Ninth and

Tenth Circuits, which have both held that Pennhurst’s notice require-
ment does not apply to Title IX damages claims where—as here—they
are based on recipients’ official policies.

                              CONCLUSION
      The en banc Court should hold that Plaintiffs have Article III
standing to raise their Title IX claims and that Pennhurst’s notice
requirement does not bar their claims for damages. Accordingly, the
Court should reverse and remand with instructions for the district court
to address the merits of Plaintiffs’ Title IX claims without delay.


                                        Respectfully submitted,

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March 23, 2023




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                    CERTIFICATE OF SERVICE

     I hereby certify that on March 23, 2023, this brief was filed
electronically with the Clerk of the Court for the United States Court of

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certify that all participants in the case who are registered CM/ECF
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                                       /s/ John J. Bursch
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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the word limit of Local Rule 32.1(a)(4)(A)
because, excluding the portions exempted by Fed. R. App. R. 32(f), this

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     This brief also complies with the typeface requirements of Fed. R.
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Dated: March 23, 2023




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